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FILED INOS R Atlanta
IN THE UNITED STATES DISTRICT COURT 5 2020
FOR THE NORTHERN DISTRICT OF GEORGIA NOY [

ATLANTA DIVISION

  

Joana Boadi,

Plaintiff.
. CIVIL ACTION FILE ySOV-4771 4 , /
JPMorgan Chase Bank, N.A., ——_——————
COMPLAINT

Defendant.
- Fair Credit Reporting Act, 15 U.S.C.

§ 1681 et seq.

- Invasion of Privacy as set forth in
Restatement (second) of Torts 652A
(1977).

- Georgia Code on Torts O.C.G.A. §
51 et seq.

Demand for Bench Trial

 

Plaintiff, who is filing pro se alleges that at all times material:
1.

This is a civil action under the;

 
 

 

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a) Fair Credit Reporting Act (““FCRA”), 15 U.S.C. § 1681 et seq.

b) Common Law on Invasion of Privacy as set forth in Restatement (second) of Torts

652A (1977).

c) Georgia Code on Torts (OCGA) § 51 et Seq.

2.
Plaintiff Joana Boadi (“Plaintiff”), is a natural person and a consumer as defined by
the FCRA, 15 U.S.C. § 168la(c) pgl, and was a customer of the Defendant as
defined by the Federal Deposit Insurance Corporation (“FDIC”) Law, Regulation
and Related Acts — Miscellaneous Statutes & Regulations 31 C.F.R. § 1020.100 (c).
Just before filing this complaint today November 23, 2020, Plaintiff has been
informed by defendant on phone, that Defendant has terminated its banking
relationship with Plaintiff. So everything contained in this complaint herein, relates
Plaintiffs banking relationship with Defendant from August 27", 2020 to November
23, 2020.

3.
Plaintiff currently resides in the state of Georgia with a correspondence address at
2897 N Druid Hills Rd NE, Suite # 134, Atlanta, GA 30329.

4.

 

 

 
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Defendant JPMorgan Chase Bank N.A. (“Defendant”) , is a financial institution as
defined under FCRA, 15 U.S.C. § 1681a(t) pg9; and a bank as defined by FDIC Law,
Regulation and Related Acts — Miscellaneous Statutes & Regulations 31 C.F.R. §

1010.100(d).

Defendant is a citizen of the State of Ohio as stated in Defendant’s Articles of

Association with the following address details, including but not limited to;

a) Registered Address: 1111 Polaris Parkway, Columbus, OH 43240.

b) Mailing Address: P.O. Box 6185, Westerville, OH, 43086.

c) Registered Agent Address in Georgia: CT Corporation System, 289 S
Culver St, Lawrenceville, Ga, 30046.

d) And for the purposes of this case, Defendant also has a residential address

at 2875 N Druid Hills Rd NE, Atlanta, GA 30329.

The term “credit report” in this complaint is a consumer report as defined under

FCRA 15 U.S.C. § 1681a(d) pel.

 

 
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Plaintiff, has elected to opt out of Defendant’s “Binding Arbitration Agreement” as
offered by Defendant within sixty (60) days of checking account opening. Plaintiff,
has notified Defendant of the opt-out in a letter dated Friday, October 2, 2020; and
by phone with Defendant’s ‘Business Escalation Department’ with case reference

number 20200929CNRS0009.

This court has:

a.) Original Jurisdiction on the basis of diversity of citizenship. This is pursuant
to 28 U.S.C. § 1332, Haynes v. JPMorgan Chase Bank N.A. case number 11-
13858 (E.D. Mich. Oct. 3, 2011). Plaintiff also seeks to recover damages in
excess of USD seventy-five thousand dollars ($75,000).

b.) Personal jurisdiction over Defendant. This is pursuant to “Account Deposit
agreement” of Defendant, which empowers Plaintiff to file any court case
against Defendant, in an appropriate court in Plaintiff’s state of residence. In
support of Georgia code O.C.G.A. § 9-10-91 (Grounds for exercise of
personal jurisdiction over nonresident); Defendant has about eighty (80)

branches and 215 atms in Metro Atlanta as of June 2018. Hayes v. JPMorgan

 

 
 

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Chase Manhattan Corporation Civil action no. 3:04CV485LN (S.D.Miss.
Nov. 28 2005).
c.) Subject Matter Jurisdiction. Federal courts in Georgia have presided over

cases involving all laws listed in paragraph 1(a-c) herein.

This selected court is also in compliance with local rules on Venue of Civil Action

LR 3.1B.

10.

Plaintiff, on Thursday August 27, 2020; went by appointment into Defendant’s
branch situated at 2875 N Druid Hills RD NE Atlanta, GA 30329, to open a checking

account with Defendant.

11.

Defendant’s employee by name Mr. Brian C. Vercel (“Defendant employee’)
opened a checking account for Plaintiff, and set up Plaintiff herein on Defendant’s

online banking platform.
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12.
Defendant’s employee then asked Plaintiff to key in her personal username and
password on Defendant’s employee’s computer, to see if Plaintiff can log unto
Defendant’s online banking platform successfully.

13.
Plaintiff, successfully logged into her online banking account on Defendant’s
employee’s computer.

14.
Defendant’s employee then asked Plaintiff to click on a link called “credit journey’,
on Plaintiffs online account.

15.
Plaintiff clicked on the link called “credit journey” on Defendant’s employee’s
computer.

16.
Upon clicking the “credit journey” link, Plaintiff’s personal credit report including

her credit score, immediately displayed on Defendant’s computer in front of

Defendant’s employee.

 
 

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17.
Defendant’s employee turned the computer to face himself and read Plaintiff's
personal credit score and credit report details for at least two (2) minutes without
obtaining authorized consent from Plaintiff.

18.
Plaintiff’s personal credit score and credit report details were largely displayed on
Defendant’s computer, and easily visible to any third party that could have walked
into Defendant’s employee desk.

19.
Defendant’s employee then asked Plaintiff to log out of her online banking account
and Defendant’s employee ended the meeting.

20.
Flushed with shock at the rude invasion of her privacy, Plaintiff left the banking hall
totally shaken and heavy headed. Plaintiff’s heartbeat and blood pulse was racing so
fast, it took at least another five (5) minutes for Plaintiff to gather the strength to
drive out of Defendant’s parking lot.

21.
Defendant’s employee actions compounded with the fact that Plaintiff had a poor

credit score, left Plaintiff very embarrassed and emotionally injured to the extent

 
 

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that, Plaintiff could not put in a full day’s work as a food courier that day. Plaintiff
had to close work early, as she was left in tears all day by the incident.
22.

Plaintiff, who is a black woman, also felt racially discriminated by the incident
because Plaintiff asserts that citizens of other races, are not made to expose their
personal credit score and credit report details to Defendant’s employees during and
after a checking account has been opened for them; unless under very exceptional
conditions as described in FDIC Law, Regulation and Related Acts — Miscellaneous
Statutes & Regulations 31 C.F.R. § 1020.220(a)(2)(4i)(B).

23.
Later on that day, unable to bear the pain of her emotional injury, Plaintiff wrote an
email to Defendant’s employee to explain how she felt, but did not receive a response
nor apology from Defendant’s employee.

24.

Defendant has not officially responded to Plaintiff’s correspondence on this matter.

 
 

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FIRST CLAIM FOR RELIEF.
FCRA, 15 U.S.C. § 1681n.
25.
Plaintiff realleges paragraphs 1-24 as if fully set forth herein.
26.
Defendant willfully failed to comply with the requirements imposed under FCRA,
15 U.S.C. § 1681 et seq., including but not limited to:
a.) Defendant employee did not communicate to Plaintiff, that clicking on
“credit journey” in front of him will expose Plaintiff's personal credit score
and credit report information, as required under FCRA, 15 U.S.C. §
1681a(o)(5) (C) pg 7.
b.) Defendant’s employee did not obtain authorized consent from Plaintiff
before viewing Plaintiff's private credit score and detailed credit report in
breach of FCRA, 15 U.S.C. § 1681a(0)(5)(A) pg6.
c.) Defendant’s employee looked at Plaintiff’s personal credit report without
a legitimate need for it. This in breach of FCRA, 15 U.S.C. § 1681b(a)(3)(F)
pgl1.
d.) Plaintiff did not initiate any business transaction that required willful

consent, to provide her credit score and credit report information to

 

 

 
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Defendant. FCRA, 15 U.S.C. § 1681(b)(a)2 pgil and FCRA, 15 U.S.C. §
1681 (b)(a)(3)(f) pg 11.
e.) Checking account opening is not listed as a permissible purpose under
FCRA, which demands provision of credit score and detailed credit report
information. FCRA, 15 U.S.C. § 1681b pg11.
f.) Unless for debt collection or special purposes ; financial institution
employees who open checking accounts, are not identified as authorized
personnel who can obtain a customer’s credit score without consent under
FCRA, 15 U.S.C. § 1681b.
27.
As a result of Defendant’s willful violations of the FCRA, Plaintiff has suffered,
continues to suffer, and will suffer future damages, worry, distress, frustration,
embarrassment, humiliation as well as actual income loss all to her damages, in an
amount to be determined by the court.
28.
Plaintiff is entitled to punitive damages for willful non-compliance in an amount to
be determined by the court FCRA, 15 U.S.C. § 1681n(a)(2) pg79.

29.
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Plaintiff is entitled to actual damages in an amount to be determined by the court in
addition to any statutory damages in an amount to be determined by the court.

FCRA, 15 U.S.C. § 1681n(a)(1) pg79.

 

30.
Plaintiff is entitled to her legal costs, costs of legal research and consultation and

possible attorney fees as determined by the court. FCRA, 15 U.S.C. § 1681n(a)(3)

pg79.

SECOND CLAIM FOR RELIEF.
FCRA, 15 U.S.C. § 1681o.
31.
Plaintiff realleges paragraphs 1-24 as if fully set forth herein.
32.
Defendant negligently failed to comply with the requirements imposed under FCRA,
15 U.S.C. § 1681 et seq., including but not limited to:
a.) Defendant employee did not communicate to Plaintiff, that clicking on
“credit journey” in front of him will expose Plaintiff's personal credit score
and credit report information, as required under FCRA, 15 U.S.C. §

1681a(o)(5) (C) pg 7.

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b.) Defendant’s employee did not obtain authorized consent from Plaintiff
before viewing Plaintiff’s private credit score and detailed credit report in
breach of FCRA, 15 U.S.C. § 1681a(0)(5)(A) pg6.

c.) Defendant’s employee looked at Plaintiff’s personal credit report without
a legitimate need for it. This in breach of FCRA, 15 U.S.C. § 1681b(a)(3)(F)
pgll.

d.) Plaintiff did not initiate any business transaction that required willful
consent, to provide her credit score and credit report information to
Defendant. FCRA, 15 U.S.C. § 1681(b)(a)2 pg11 and FCRA, 15 U.S.C. §
1681 (b)(a)(3)(f) pg11.

e.) Checking account opening is not listed as a permissible purpose under
FCRA, which demands provision of credit score and detailed credit report
information. FCRA, 15 U.S.C. § 1681b pg11.

f.) Unless for debt collection or special purposes ; financial institution
employees who open checking accounts, are not identified as authorized
personnel who can obtain a customer’s credit score without consent under
FCRA, 15 U.S.C. § 1681b.

33.

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As a result of Defendant’s negligent non-compliance of the FCRA, Plaintiff has
suffered, continues to suffer, and will suffer future damages, worry, distress,
frustration, embarrassment, humiliation as well as actual income loss all to her
damages, in an amount to be determined by the court.

34.
Plaintiff is entitled to actual damages in an amount to be determined by the court in
addition to any statutory damages in an amount to be determined by the court.
FCRA, 15 U.S.C. § 1681o(a)(1) pg80.

35.
Plaintiff is entitled to her legal costs, costs of legal research and consultation and

possible attorney fees. FCRA, 15 U.S.C. § 16810(a)(2) pg80.

THIRD CLAIM FOR RELIEF.
COMMON LAW ON INVASION OF PRIVACY AS SET FORTH IN
RESTATEMENT (SECOND) OF TORTS § 652A-E (1977).
36.

Plaintiff realleges paragraphs 1-24 as if fully set forth herein.

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37.
Under common law rules of right to privacy, as set forth in Restatement (second) of
Torts § 652A-E (1977); the tort of “intrusion upon seclusion” states that “one who
intentionally intrudes, physically or otherwise, upon the solitude or seclusion of
another his private affairs or concern is subject to liability to the other for invasion
of his privacy, if the intrusion would be highly offensive to a reasonable person.”
Publication or broad public disclosure of private information is not a necessary
element under this tort.

38.
In Nader v. General Motors Corp.,25 N.Y. 2d 560, 1970; the court found that
General Motors’ committed an intrusion into seclusion when agents of the
corporation spied on the Plaintiff in a bank, looking over his shoulder to see
his private financial records. This amounted to intrusion upon seclusion because the
conduct was designed to elicit information which was not available through normal
inquiry or observation.

39.
From the aforementioned in paragraph 37 and 38;

a) Plaintiff was in a secluded space at one of Defendant’s enclosed desk in the

banking hall with Defendant’s employee.

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b) During and after Defendant’s employee herein, opened the checking account
for the Plaintiff; Plaintiff's personal credit score and detailed credit report was
not available to Defendant’s employee through normal inquiry or observation.

c) Defendant’s employee herein, intentionally intruded on Plaintiff's privacy by
insisting that Plaintiff click on the link called “credit journey”, without any
need for it.

d) Defendant’s employee, turned his computer to face himself and intentionally
read Plaintiff’s private credit score and credit report details for at least two (2)
minutes without authorized consent from the Plaintiff.

e) Defendant’s employee actions stated in paragraphs 39(c-d) was highly
offensive to Plaintiff. This is evidenced in an email Plaintiff wrote to
Defendant employee on August 27, 2020, which is the same day after the
injury occurred.

f) Defendant’s employee actions stated in paragraphs 39(c-d) will be highly
offensive to any reasonable person because all things being equal, anyone will
be highly offended if any other person viewed and read their private credit
score and detailed credit report without one’s permission, and without a need

to do so.

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g) The Defendant’s employee intentional intrusion of Plaintiff's privacy upon
seclusion, inflicted emotional harm on the Plaintiff which includes but not
limited to worry, distress, frustration, embarrassment and humiliation.

h) The harm inflicted on the Plaintiff by the Defendant’s employee from the
aforementioned paragraph 39(c-d), led to actual income (economic) loss for
the Plaintiff. This is because plaintiff was unable to put in a full days’ work
on the day the injury occurred, due to emotional distress from defendant’s
employee actions in paragraph 39(c-d).

AO.
As a result of Defendant’s employee tort of invasion of Plaintiff's privacy, Plaintiff
has suffered, continues to suffer, and will suffer future damages, worry, distress,
frustration, embarrassment, humiliation, as well as actual income loss all to her
damages, in an amount to be determined by the court.

Al.
Plaintiff is entitled to punitive damages in an amount to be determined by the court.
In Lawlor v. North American Corp. of Illinois, 2012 IL 112530, the Supreme court
awarded punitive damages for the tort of intrusion upon seclusion.

42.

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Plaintiff is entitled to compensatory damages in an amount to be determined by the
court in addition to any statutory damages in an amount to be determined by the
court. In Lawlor v. North American Corp. of Illinois, 2012 IL 112530; the Supreme
Court awarded compensatory damages for the tort of intrusion upon seclusion.

43.
Plaintiff is entitled to her legal costs of research and consultation and possible

attorney fees.

FOURTH CLAIM FOR RELIEF
GEORGIA CODE ON TORTS 0O.C.G.A § 51 ET SEQ.
44.
Plaintiff realleges paragraphs 1-24 as if fully set forth herein.

45.

Defendant was ordinary negligent because;
a) Defendant’s employee did not exercise ordinary diligence; by not adhering to
a standard of reasonable care, by obtaining Plaintiff’s private credit score and
credit report without a legitimate need for it and without consent as required

under FCRA, 15 U.S.C. § 1681 et seq. O.C.G.A. 51-1-2 (2010).

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b)

 

d)

From the violations described in paragraph 45a); Defendant’s employee
invaded Plaintiff's right to privacy and therefore Defendant’s employee
herein, breached duty of care imposed on bank officers by the FDIC, “to act
as prudent and diligent business persons in conducting the affairs of the bank.”
FDIC Law, Regulation and Related Acts — Statement of Policy FIL-87-1992.
Defendant’s employee breach of duty of care to Plaintiff, was highly offensive
to Plaintiff and directly harmed Plaintiff emotionally. Thus Plaintiff has
suffered, continues to suffer, and will suffer future damages, worry, distress,
frustration, embarrassment and humiliation. This is evidenced in an email
Plaintiff wrote to Defendant’s employee on August 27, 2020, which is the
same day after the injury occurred.

The harm of emotional distress inflicted on Plaintiff by Defendant’s
employee, has resulted in actual income loss to Plaintiff. Plaintiff was unable
to complete a full day’s work on the day the injury occurred, and has had to
incur more costs to file this case in court.

46.

As a result of Defendant’s employee tort of negligence on Plaintiff, Plaintiff has

suffered, continues to suffer, and will suffer future damages, worry, distress,

 

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frustration, embarrassment, humiliation, as well as actual income loss all to her
damages, in an amount to be determined by the court.
47.

Plaintiff is entitled to recovery of special damages for tort of negligence caused by
Defendant in an amount to be determined by the court. O.C.G.A. 51-12-2(b) (2010).
48.

Plaintiff is entitled to recovery of general damages for tort of negligence caused by

Defendant in an amount to be determined by the court. O.C.G.A. 51-12-2 (a) (2010).

FIFTH CLAIM FOR RELIEF
GEORGIA CODE ON TORTS 0O.C.G.A § 51 ET SEQ.
49,
Plaintiff realleges paragraphs 1-24 as if fully set forth herein.
50.
Defendant breached legal duty to Plaintiff because;
a) Defendant’s employee did not exercise ordinary diligence; by not adhering to
a standard of reasonable care, by obtaining Plaintiff's private credit score and
credit report without a legitimate need for it and without consent as required

under FCRA, 15 U.S.C. § 1681 et seq. O.C_G.A. 51-1-2 (2010).

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b)

d)

From the violations described in paragraph 50a); Defendant’s employee
invaded Plaintiff’s right to privacy and therefore Defendant’s employee
herein, breached duty of care imposed on bank officers by the FDIC, “to act
as prudent and diligent business persons in conducting the affairs of the bank.”
FDIC Law, Regulation and Related Acts — Statement of Policy FIL-87-1992.
Defendant’s employee breach of duty of care to Plaintiff, was highly offensive
to Plaintiff and directly harmed Plaintiff emotionally. Thus Plaintiff has
suffered, continues to suffer, and will suffer future damages, worry, distress,
frustration, embarrassment and humiliation. This is evidenced in an email
Plaintiff wrote to Defendant’s employee on August 27, 2020, which is the
same day after the injury occurred.

The harm of emotional distress inflicted on Plaintiff by Defendant’s
employee, has resulted in actual income loss to Plaintiff. Plaintiff was unable
to complete a full day’s work on the day the injury occurred, and has had to
incur more costs to file this case in court.

51.

As a result of Defendant’s employee breach of legal duty to Plaintiff, Plaintiff has

suffered, continues to suffer, and will suffer future damages, worry, distress,

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frustration, embarrassment, humiliation, as well as actual income loss all to her
damages, in an amount to be determined by the court.

52.
Plaintiff is entitled to recovery of actual damages for breach of legal duty in an
amount to be determined by the court. O.C.G.A. 51-1-6 (2010).

53.
Plaintiff is entitled to her legal costs of research and consultation and possible

attorney fees.

PRAYER
Plaintiff demands a bench trial on all claims. Wherefore Plaintiff Joana Boadi prays
for a judgement as follows:
1. On Plaintiffs First Claim for Relief for willful violations of the FCRA against
Defendant JPMorgan Chase Bank N.A.:

a) Actual damages in an amount to be determined by the court;

b) Punitive damages in an amount to be determined by the court; and

c) Statutory damages as determined by the court; and

d) Legal costs, costs of legal research and consultation and possible

attorney fees.

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2. On Plaintiff's Second Claim for Relief for negligent violations of the FCRA
against Defendant JPMorgan Chase Bank N.A.:
a) Actual damages in an amount to be determined by the court;
b) Legal costs, costs of legal research and consultation and possible
attorney fees.

3. On Plaintiff's Third Claim for Relief under Common Law Rules on Invasion of
Privacy Restatement (second) of Torts § 652A-E (1977) against Defendant
JPMorgan Chase Bank N.A.:

a) Punitive damages in an amount to be determined by the court;

b) Compensatory damages in an amount to be determined by the court;
and

c) Legal costs, costs of legal research and consultation and possible
attorney fees.

4. On Plaintiff’s Fourth Claim for Relief for ordinary negligence under OCGA §
51 et seq. against Defendant JPMorgan Chase Bank N.A.:

a) Special damages in an amount to be determined by the court;
b) General damages in an amount to be determined by the court;
c) Legal costs, costs of legal research and consultation and possible

attorney fees.

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5. On Plaintiffs Fifth Claim for Relief for breach of legal duty under OCGA § 51
et seq. against Defendant JPMorgan Chase Bank N.A.:

a) Actual damages in an amount to be determined by the court;

b) Legal costs, costs of legal research and consultation and possible

attorney fees.

6. On All Claims for Relief, costs and expenses incurred in this action.

Dated this 23" day of November, 2020.

Respectfully submitted by;

Sel
Joana Boadi

2897 N Druid Hills Rd suite #134,
Atlanta, GA 30329
ie Joana.Boadi@ yahoo.com

7, Telephone (404) 513 — 7312

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

Joana Boadi,

Plaintiff,
VS.
CIVIL ACTION FILE NO.

JPMorgan Chase Bank, N.A..,
Demand for Bench Trial

Defendant.

 

CERTIFICATE OF INTERESTED PARTIES AND CORPORATE
DISCLOSURE STATEMENT

Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Plaintiff Joana Boadi
who is initiating this action pro se, declares that she is a natural person and not a
corporation. Plaintiff declares that no other persons, associations, firms,
partnerships or corporations have a financial interest in her or other interest which
could be substantially affected by the outcome of this particular case.

Dated this 237 day of November, 2020.

Respectfully submitted by;

Poe

a Joana Boadi
Vo kK. ne Qy_ Joana pon :

2897 N Druid Hills Rd suite #134,
\\| eB [Peto Atlanta, GA 30329.
. Joana.Boadi@ yahoo.com.
8 Telephone (404) 513 — 7312.
- Filing Pro Se.

 

 

 
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CERTIFICATE OF COMPLIANCE
Pursuant to Local Rule 7.1(D), I hereby certify that the foregoing has been prepared
in compliance with Local Rule 5.1(B) in 14-point New Times Roman type face.
Dated this 23 day of November, 2020.

Respectfully submitted by;

Joana Boadi ! 7
/ Joana Boadi

  
 
    

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